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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


      SECURITY AND EXCHANGE                                 Civil Action No. 19-5820(MCA)
      COMMISSION,

                Plaintiff,
      v.
                                                            ORDER ADMINISTRATIVELY
      GORDON J. COBURN, et al.,                             TERMINATING ACTION

                   Defendants.




            It appearing that this matter is pending resolution of a related criminal proceeding;

            IT IS on this 5th day of January, 2024,

                    ORDERED that the Clerk administratively terminate the action on its

     records, without prejudice to the right of the parties to reopen the proceedings within seven

     days of the adjudication of United States v. Gordon J. Coburn, Crim. No. 19-120 and any related

     criminal proceedings.




                                                      s/Madeline Cox Arleo
                                                      UNITED STATES DISTRICT JUDGE
